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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION


   DONALD J. TRUMP,

              PLAINTIFF,                                CASE NO.: 0:22-CV-61842-AHS

         v.
                                                       COUNSEL’S MOTION TO
   CABLE NEWS NETWORK, INC.                            WITHDRAW AS ATTORNEY

              DEFENDANT.



         The undersigned counsel, James M. Trusty of Ifrah Law PLLC, as counsel of record

  (“Counsel”) for Donald J. Trump (“Plaintiff”), respectfully requests leave of this Court to permit

  him to withdraw as attorney of record for Plaintiff. Counsel has informed Plaintiff of his intent to

  withdraw from representation. Counsel also has informed counsel of record for the defendant in

  this matter, Cable News Network, Inc. (“Defendant”) of his intent to withdraw.

         Mr. Trusty’s withdrawal is based upon irreconcilable differences between Counsel and

  Plaintiff and Counsel can no longer effectively and properly represent Plaintiff. Mr. Trusty’s

  withdrawal at this time does not adversely impact any parties to this matter: oral argument on

  Defendant’s Motion to Dismiss has not been scheduled, discovery has not begun, and there are no

  pending deadlines. Further, Plaintiff continues to be served by co-counsel on the matter, Lindsey

  Halligan, a member of the Florida Bar.

         Based upon these facts, Counsel requests to be withdrawn as attorney of record for Donald

  J. Trump.
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                                          Respectfully submitted,


                                            /s/ James M. Trusty
                                          James M. Trusty
                                          Pro Hac Vice
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                                          Washington, DC 20006
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                                   CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing has been filed and served via
  the Court’s CM/ECF portal on this 16th day of June to George S. LeMieux,
  eedison@gunster.comm 450 East Las Olas Blvd, Suite 1400, Fort Lauderdale, FL 33301; and Eric
  P.    Schroeder,    eric.schroeder@bclplaw.com,         and     Brian    M.     Underwood,      Jr.,
  brian.underwood@bclplaw.com, 1201 W. Peachtree St., NW, Atlanta, GA 30301, counsel for
  Defendant.


                                                  /s/ James M. Trusty
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